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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF PUERTO RICO

SONIA NOEMI GONZALEZ                      *
          Plaintiffs                      *                  CIVIL NO. 18-1021
                                          *
                   v.                     *                  ABOUT:
                                          *                      DIVERSITY
SAN CRISTOBAL HOSPITAL,                   *                      EMTALA
JUANA DIAZ’ DIAGNOSTIC AND                *                      TORTS
TREATMENT CENTER (CDT JUANA DIAZ),        *                      MEDICAL MALPRACTICE
CONTINENTAL CASUALTY INSURANCE CO., *
d/b/a CNA, SIMED, JOHN DOE, RICHARD ROE, *
and their respective insurance companies  *                         JURY TRIAL
               Defendants                 *
*******************************************

                                          COMPLAINT

TO THE HONORABLE COURT:

        Comes plaintiffs, through the undersigned attorney, and very respectfully state, allege and

pray:

I.      JURISDICTION

        1.      This Honorable Court has jurisdiction under 28 U.S.C. sec 1332 (a) 1, (c) and (d).

        2.      Plaintiff and defendants are of diverse citizenship and the award requested exceeds

$75,000.00, exclusive of costs and interests. Plaintiff is resident of Tampa, Florida, USA. Co-

defendant Juana Diaz’ Diagnostic and Treatment Center (CDT Juana Díaz) is a private medical

institution resident of Puerto Rico (local citizenship). Co-defendant San Cristóbal Hospital is a

private medical institution resident of Puerto Rico (local citizenship). Co-defendant Continental

Casualty Insurance, Co. is an insurance company resident of Puerto Rico with its parent company

and Head Quarters in Chicago, Illinois. SIMED is an insurance company resident of Puerto Rico.

        3.      The action of torts/medical malpractice under the laws of the Commonwealth of
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Puerto Rico against all defendants under Article 1802, 1803, et al. of the Civil Code of Puerto Rico.

       4.      This is an action for redress of plaintiff injuries due to the violation by defendant of

rights secured under the Emergency Medical Treatment and Active Labor Act (EMTALA).

       5.      Trial by jury is hereby requested.

II.    PARTIES

       6.      Plaintiff, Sonia Noemi Gonzalez, is married, of legal age, citizens of the United States

and resident of Tampa, Florida. Plaintiff’s address is 5475 Shasta Daisy Place, Land O Lakes,

Tampa, Florida 34639. She is the daughter of Mr. Joaquin Gonzalez-Molina.

       7.      Defendant San Cristóbal Hospital is a private medical institution dedicated to the care

of patients. Defendant San Cristóbal Hospital ’s physical address is Road PR 506 KM 1.0, Coto

Laurel, Ponce, Puerto Rico 00780-2100.

       8.      Co-defendant Juana Diaz’ Diagnostic and Treatment Center (CDT Juana Díaz) is a

private medical institution dedicated to the care of patients. Co-defendant Juana Diaz’ Diagnostic

and Treatment Center (CDT Juana Díaz)’ physical and postal address is 6 La Cruz, Juana Díaz,

Puerto Rico 00766.

       9.      We include as co-defendant Continental Casualty Insurance, Co. d/b/a Continental

Casualty, Co. d/b/a CNA. It issued an insurance policy current at the time of the acts alleged in this

complaint, that covers the acts and damages alleged in this complaint.

       10.     We include as co-defendant SIMED. It issued an insurance policy current at the time

of the acts alleged in this complaint, that covers the acts and damages alleged in this complaint.

       11.     John Doe and Richard Roe are those managers, supervisors, physicians, medicine
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doctors, nurses, technicians and/or employees or independent contractors that worked for (or in its

behalf) of co-defendants San Cristóbal Hospital and Juana Diaz’ Diagnostic and Treatment Center

(CDT Juana Díaz) who where involved with the treatment or care, directly or indirectly of Joaquín

González-Molina’s treatment, while he was in co-defendants San Cristóbal Hospital’s facilities and

Juana Diaz’ Diagnostic and Treatment Center (CDT Juana Díaz), who’s names are unknown to this

day, and who are responsible or contributed in any way to the events that give rise to this complaint.

We also designate as unknown co-defendants the insurance policies of all of the co-defendants in

this complaint.

III.   FACTS

       12.        Mr. Joaquín González-Molina was a participating in the medicaid program under Mi

Salud. As he explained his daugther:

       13.        El 16 de enero de 2017 Joaquín González-Molina estaba trabajando en su casa con

una sierra de banco cortando unas maderas y se cortó tres dedos de su mano izquierda. Llamó a

su vecino y lo llevaron al hospital mas cercano que es el CDT de Juana Diaz.

       14.        Llegaron a la Sala de Emergencia del CDT de Juana Díaz, allí un médico no le

abrió la puerta para atenderlo y le dijo que fuera al Hospital San Cristóbal de Ponce. No lo

atendieron, no lo examinaron, no le dieron primeros auxilios, ni tan siquiera le vendaron la mano

para aguantar el sangrado.

       15.        El demandante junto a Octavio Negrón salieron inmediatamente para el Hospital

San Cristóbal. Entró a la sala de emergencia y allí lo sentaron en una silla a esperar que lo

llamaran. Estando allí esperando Joaquín González-Molina le dió un mareo. Fue cuando
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decidieron atenderlo. Lo sentaron en un sillón de ruedas y comenzaron a darle el servicio

ligeramente.

       16.     El médico le informa a Joaquin que tenían que enviarlo a Centro Médico de Río

Piedras. Sentaron a Joaquin en una silla a esperar una ambulancia y dicha ambulancia apareció

al otro día a eso de las 9:00 de la mañana, para entonces trasladarlo al Centro Médico de Río

Piedras.

       17.     En la sala de emergencia del Hospital San Cristóbal de Ponce, Puerto Rico llevaron

a Joaquin a sacarle placas de su mano izquierda donde estaba herido, luego lo sentaron en un sillón

incómodo que lo que tenía eran unos tubos cruzados, sin cubierta hasta las 4:30 de la mañana y

luego llegó una enfermera y le dijo que iba a preparar una camilla.

       18.     En el Centro Médico de Rio Piedras fue que pudieron hacer las cirugías de sus

dedos heridos, luego el cirujano cogió como tres horas por la razón que él ya había cogido todos

los puntos a cada dedo, pero cuando se dió cuenta tuvo que quitar los puntos al dedo angular

porque ya ese dedo no tenía circulación, estaba la parte muerta esto deja saber que el médico del

Hospital San Cristóbal de Ponce. Tuvo una gran demora de mas de 18 horas detenido en la sala

de emergencia del Hospital San Cristóbal. Lo dejaron en ese sillón desde antes de las 5:00 pm

hasta el otro día 18 de enero de 2017 cerca de las 10:00 am.

       19.     Joaquin es un anciano mayor de 75 años.

       20.     Le dieron de alta con una receta de medicamentos y una advertencia que a los 10

días fuera a una sala de emergencia de un hospital a que le cortaran los puntos.

       21.     Joaquin visitó a las 8:45 am la sala de emergencia del CDT de Juana Díaz y una
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doctora le dijo que tenía que ir a que le cortaran los puntos a la sala de emergencia donde le habían

hecho la cirugía.

       22.     Joaquin acudió a la oficina de su médico de cabecera y él no estaba presente en

dicha oficina, pero la esposa es doctora y ella se encontraba presente y lo pudo atender y le cortó

los puntos.

       23.     Joaquin fue referido a un fisiatra con terapia fisica y a un cirujano de las manos

para cirugia correctiva y estetica. Por razon de los Huracanes Irma y Maria no pudo asistir a los

tratamientos luego los medicos se mudaron fuera de Puerto Rico. Al presente comenzó tratamiento

con un nuevo fisiatra y tienje cita con otro cirijano de las manos para cirugia correctiva y estetica.

       24.     The patient was not stabilized and transferred to a qualify medical facility as required

by EMTALA and the resources to do so were not employed in violation of the law.

       25.     The co-defendants are included as defendants in sight that medical treatment was not

the adequate one. The treatment did not proceed the standards of the correct practice of medicine and

was realized wrongfully and incorrectly, the proper equipment was not used in this situation. This

is contrary to the Federal Law, Emergency Medical Treatment and Active Labor Act (EMTALA).

It is also against the laws of the Commonwealth of Puerto Rico.

       26.     Defendant San Cristóbal Hospital, the physicians, nurses, technicians, and specialized

personnel, their employees, supervisors and administration where extremely negligent. The wrong

and negligent acts of the physicians, nurses, technicians and specialized personnel, their employees,

supervisors and administration of the co-defendant San Cristóbal Hospital, where the direct cause

or contributed to the acts alleged in this complaint and caused all the damages to Joaquin and the
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plaintiff.

        27.     Defendant Juana Diaz’ Diagnostic and Treatment Center (CDT Juana Díaz), the

physicians, nurses, technicians, and specialized personnel, their employees, supervisors and

administration where extremely negligent. The wrong and negligent acts of the physicians, nurses,

technicians and specialized personnel, their employees, supervisors and administration of the co-

defendant Juana Diaz’ Diagnostic and Treatment Center (CDT Juana Díaz), where the direct cause

or contributed to the acts alleged in this complaint and caused all the damages to Joaquin and the

plaintiff.

IV.     DAMAGES

        Defendants are jointly responsible for all the damages suffered by the plaintiff.

        28.     Plaintiff, Sonia Noemi Gonzalez,suffered and continues suffering for the physical

damages and suffering of her father Joaquín González-Molina. Damages estimated in the amount

of $250,000.00.

        29.     Plaintiff, Sonia Noemi Gonzalez,suffered and continues suffering to this day severe

mental anguish and emotional distress, for the permanent and incapacitating damages, including the

partial loss of four (4) finger and the constant pain of her father Joaquín González-Molina. Damages

estimated in the amount of $500,000.00.

        30.     Plaintiff, Sonia Noemi Gonzalez,suffered and continues suffering to this day severe

mental anguish and emotional distress for the discrimination against her father Joaquin González-

Molina and the way that he was treated. Damages estimated in the amount of $250,000.00.

        WHEREFORE, plaintiff respectfully pray from this Honorable Court to render Judgement
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in favor of plaintiff and to award them a sum no less that one million dollars ($1,000,000.00) for the

damages suffered by her because of defendants combined negligence, plus an additional amount for

attorney fees and court costs, all to be paid severally by defendants.

       RESPECTFULLY SUBMITTED.

       In Ponce, Puerto Rico this 16th day of January of 2018.

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